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    ôՠå+‫ږ̿ږ‬èòМιT‫&ږ‬U‫ږ‬4‫؝‬è‫ږ‬:‫ږ‬ёî‫&ږ‬κ?‫ږ‬ĂG‫ږ‬šđÇ+ȏ‫ږ‬
     ˘Ț       >4'EJƭђ­ ‫ ږ‬ʛĽˠ‫ږˈ˷ږ‬pĻ˄˽˖ʫpǰ‫˱ږ‬țʞȜ                                                                                                            Ǔ˧Ⱦ ǈǎǂs*ǇǠ‫ږ‬
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    ‫س‬űƯ‫ږ?טږ‬ʟ́Ҕ‫ږ@ږ‬a$Z¥®È5V‫شږ‬Ѫ ‫ږ֡ ږ ږ‬1Ѕ‫יږ‬,‫ږ‬ʠJ*ǌƥ‫ ږ‬ĵ¾ćj}‫ږ‬ĮhlÀƃ‫ږ‬±X‫ ږ‬Ĵe:؆2,‫ږ‬a6º‫­ږږ‬/͹s>-‫ږ‬ČnӔ‫ږ͂ږ‬W~J÷x‫ږ‬Ɩ‫'ږ‬$‫ږ‬Qͺ#O"‫׺‬ɳ‫ !ږ‬C‫̓ږך‬H‫ږ‬
    1E,‫ږ‬ȿȟӎ І‫ ږ‬ν‫ږ‬НƗx‫ص‬h‫ͯ ?ږ‬Šơ3Ġ‫ږ‬bE&g֢`‫ږږ‬, ԫٕgď‫ږ‬ԬŪ‫ ږ‬ѫ3‫ږ‬ıYզQ.ٖɴ‫ږ‬


                                                                                            ̎]-Ȱ̂ ͨ _֣‫ږ‬


    ˲âξ‫ږ‬                                                                                   ‫ټ‬ɀƿѬBοȱ̃ <oĐ‫ږ‬


   ˳ƅӺπ‫ږ‬                                                                                    ̏Bѭ̄ < '}‫ږ‬


   ˴KÆρ‫ږ‬                                                                                    @ Ȳ̅s ~;‫ږ‬
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   Gծ~÷ŠΨ‫ږ‬dٙ‫ږ‬Чͅþ*‫ږ‬Ɂȶ‫ږ‬zi‫¦ږ‬%Ω‫ږ‬4ͻŘ" ;ɵ‫֧ږ{ ږ‬г‫ږ‬#Œŷēȑ‫ږ‬GƊЦǱ‫ږ‬.Zҥf‫ה‬ǲ‫ږ‬і%ùҺƪ‫ږ‬Oò‫ږ‬7‫ك‬$M.дσ¬‫ږ‬QåT ͩͼτ=ǳ‫ ږ‬ѯ υ‫ږ‬DĐѰĐ‫ږ‬Ǖıĵ=Ǣ‫ږ‬Ə‫ ږ‬D‫ږ‬Òf‫ږ‬ОƘ‫ږ‬ŁƸ‫ږ‬Að‫ ږ‬Ą ٚɶ‫ږ‬F‫ږ‬
   ӻԭl=š‫ ږ‬œ φ*=«‫ږ‬ղ͆ęһġ‫ ږ‬Ԯ =Ģ‫ ږ‬dű֨Û‫ږ‬Âë‫ ږ‬ºƣ֩‫ږ‬ǖʯʾǣ‫ږ‬FÔ‫ږ‬Ǵɂ ‫ږ‬8Ā֪ɃӼIɓýͽƮ‫ږ‬ƐƵ. ‫ږ‬Ƒ2‫ږ‬,Ϊ‫ږ‬ї×‫§ږ‬ÂĔ‫ ږ‬ŔӞɄٛ‫ ږ‬ա‫ږ‬¤F=8 ‫ضږ‬8‫ږ‬ʡC*‫ږږ‬ôբ‫ږ‬æԯҼҽ+ŕ A ‫ږږ‬k"‫ږ‬d©‫ږ‬
   ˌłƇ*ɷ‫ږ‬y‫ږ‬K;·χćֈġ‫͇ږ‬ó‫ ږ`=׶‬łŕTŚ‫֗ל‬ĥ·gȒ‫ږ͈ ږ‬ȷɅ 2‫ږ‬ѱ }ưψ ǵ‫ږ‬էCٜōu‫ږ‬KB‫ږ‬İŌ *ɸ‫ږ‬B‫ږ‬¤Ҧ͉¹ω‫ږ‬:U G‫ط ږ‬Ѳ ‫ ږ‬ǃ͊6*‫ ږ‬С‫ؚ‬Ɯ‫ږ ږ‬ƚn2Űͮ‫ږ ͋ږ‬° ‫ږ‬yЈ‫ږ‬ÁƗ,ѳ‫ږ‬Ŗ'2ϊƈ5ϋ‫ږ‬: ‫ږ‬äόKЉ‫ږ‬FЊ‫ږ‬
   Nv‫ ږ‬ʰ԰/ͪԠ×ʊ‫ ږ‬Z‫ږ‬Ȥ‫ل‬+Ϳní‫ږ‬â‫ږ‬éú‫؞‬ƫ‫ ږ ͌ږ‬Ҿ¾¶kŗ‫ ږ‬ñ^‫ ֫ ږ‬ūʹճ;‫<ږ‬еմVύ Ç ‫چږ‬Ϋ‫ږ‬Ì‫ ږ‬±ŷ‫ږ‬Älqӽ֬Ћ‫ם‬P֭‫ږ‬Ñĉ‫ מ@ظږ‬çJ‫ږ‬uٝ‫ږ‬T!: 5‫< ږ‬ÈЌ7յ‫ږ‬Ա‫>ږ‬ώј͍ùð‫ږ‬1 t‫ ږ‬ì‫ږ‬ʱԲƉƹɹ‫ږ‬
   Ä؇‫ןږ‬Ƕљ§͎8Ӿ‫ږ‬ӿԀ‫ږ‬bT‫׼‬mm‫؟ږ‬$ ‫ږ‬ǗѴ"%ж‫ږ‬d^ ‫ږ‬Գҧ‫ ږ ږ» ږ‬b‫ږ‬ŘJȓ‫ږ‬e ģ‫ږ‬y[‫ږ‬ԁ½‫ ږ‬Ţbĕ‫ږ‬¢Ѝ‫ږ‬ã΀΁}}‫ ږ‬j‫נږ‬N‫ږ‬ĲԴӟ/±ٞ‫ ږڇ‬Ń5#Í^]֮Ǥ‫ ס ږ‬á‫ ږע‬ǐǍ̘‫ږ‬d ‫ ږ‬؈֯-‫ ږ‬ôգ‫ږ‬Ě ‫=|^ږ‬,‫ږ‬ԵЎ‫ږ‬
   Ԃ@ė8MƭӠW‫ږ‬7ϴeÒ5‫ږ‬Á‫ږ؛‬K¡3ú΂3‫̚ږ‬ʲԶńٟ‫͏ږ‬ÔϏƣ‫ږ‬r.‫ږ‬C¸Ÿþ‫ع‬зf‫ ږ‬K!‫ږ‬ϐ ‫ ΃ ˅ږږ‬#‫ږ‬Ķ".;‫ږ‬ԃđūŧG‫ږ‬p‫ږ‬ǘ‫ږ‬Þɪ‫̆ږ˙˦ ږ‬Ȕʳ‫ ږ‬Ħ ɬīɣ‫ږ‬Ť‫ږ‬đfÓȕǥ‫ږ‬ɔɕO‫˾ږ‬и"ҿƁӀԷ‫ږˆږ‬Ǚ‫ږ‬Þ ɟ ‫ږ‬
   ʸĶ ˿ğ‫˸ ږ‬Ԅ]‫ږ‬M ‫ږ‬Súw$͐d ‫&ږ ږ‬H‫ږ‬m'5 ‫ږ‬C$ ‫ږ‬άϑ‫ؠ‬ѵ5?Ǧɺ‫ږײږ‬#\ͫњћ ‫ږ‬CU‫ ږ‬4Ѷ9ü‫ ږ‬Ņ‫ږ‬ųh ‫ږ‬ţ֎ȀɆǧƤ‫ږ‬ƛŤҨ9Ը6N£ɻ‫ ږ‬Թ ‫ږ‬,‫م‬ȥ#^‫ږ‬LӰ‫ږ‬έw‫ږء‬ņ‫غږ‬ն ‫ְͬ ږ‬Џ‫ږ‬Ɗйԅɼ֐ ‫׽‬ҩ
   qԆ‫! ږ‬Ժ‫ ږ‬¥¹կ؉ ʇ Ú‫ږ‬j‫ ږ‬Ի‫ږ‬ԇ/¤Ƒ8‫ږ‬ɽӡ‫׷‬Ӑ‫ף ږ‬ҕҖк]ϒ‫ ږ‬շÊ ‫ ږ‬v ‫ ږ‬Î‫ ږ‬,‫ږ‬3n‫ږ‬T̇ʒҪӁƀ̈‫ږ‬:‫ږ‬4ƺ‫[ ږ‬Ón3Ư«‫ږ‬ƳѷG3‫ږ‬Yt‫ږ‬А'ֱ‫ږڈ‬Լ‫ږ‬ŢE‫ ږ‬6ŻԈ‫ږ‬L.ƻ‫ږ‬LлƄ ď‫ږ‬Ѹö‫ږ‬Ãӂ ‫ږ‬įM*‫ ږ‬ПƖ‫ږ‬ϓ
   /֓‫آ‬%ʉѹԽ‫ږ‬u٠‫<̀ږ‬6*‫ږ‬ԾБ‫أږ‬Ň%Yֲ‫̐ږ‬ϔKƤnP١‫˪ږ‬ccõո։ԡʄ‫ ډ‬ė‫΄ڊږ‬G‫ؤ‬$΅m‫˥ږ‬Ê‫ږ‬wƥ‫ږ‬ĳ: /4Ø‫ږ‬Q‫'=ږ‬Ά‫ ږ‬$ >Ӓ[‫ ږڋ‬4þ4h‫ږ‬Կ‫ږ‬ϕՀƼ¾,‫ږ×< ږ‬fԉýÙ‫ږֳږ@ږ‬Ӄӄ‫ږ‬Nĉ‫ږ‬ƦÎ‫ږ‬ήѺm#ƜÍ_ª
   ²Ƌί‫ ږ‬Ձ‫;ږ‬м‫ږ‬ňÿ‫ږ‬sÉ‫ ږ ږ‬#_ӢϖX]3‫ږ‬Mӣ‫!ږ‬R*‫ ږږ׾‬Ӥʋ 8؊Ԋ‫  ږ‬ÓƱչ-‫ږ*  ږ¨>ږ‬g͑ ѻ‫إ‬ì‫ږ‬A‫ږ‬3'5‫ ږ‬2ϗ&ִ'ƽ‫ ږ‬ĻJE&ŭϘ¿‫ ږ‬3ϙ‫ږ  ږ[ ږ·ئ‬դ ³.ΞȠ‫{ږ‬Ŭ‫ږ ږ‬ư̈̌ɇI ĦɈc6٢ƿֵ‫ږ‬
   Ղ>нs Ճ¡ֶ‫ږ‬¥‫ږ‬olǷ‫ږ‬S.ßƂ‫ږ‬BN͒‫͓ږ‬.٣‫ږ‬ƦҫħΈ‫̑ږ‬l-q\ě2H‫˫ ږ‬ŉ6͔W--B‫͕ ږ‬W7, ¡ǛǨ‫ ږ‬ÕƉҬ‫ږ‬2CIħɖ‫ ږ ږ‬Л‫ ږؘ‬ÁƙΉD‫ ږ‬9‫ ږ‬ϚХϛ¹‫ ږ‬o8‫ػ ږ‬Ô ‫ ږ‬1v$¿‫ ږ‬պk‫ ږ‬l Ѽ À‫ا ږ‬Ϝ ‫ ږ‬Ų6‫ږ‬
   ͖$ΊՄԋ˚‫ڌ‬΋‫ږ‬ƴѽ‫ ږ‬g‫  ږ‬Ē‫ږ‬zò‫ ͗ږ‬٤‫ږ'}ږ‬оƝ ƋB‫ږ‬Ö ã‫ ږ‬RĜ ‫ږ‬őŦ ‫ږ‬Pť$‫׹‬%‫ب‬7‫>ږ‬ƾ‫ږ‬J.җ‫ږ‬9Ԍ»‫!ږ‬° ‫_ږ‬$‫ږ‬Žœ C‫ַږ‬cӅ‫ږ‬: ‫ږ‬áÁӆТ# ‫ږ‬ā٥‫¶&ږ‬ҭ: ‫ږ‬cŸϝ‫Ͱږ‬Ø‫ږ ږ‬İҘ‫ږ‬՝‫ږ‬ԍ‫ږ‬
   ָΌ ‫·§ږ‬ԎɗĥI³ ѾAĬ‫ږ‬ĘĂ‫ږ‬È‫ږږ‬ëȭ;‫ږ<ږ‬ȫ<ęϞ‫ږ‬ΰըՅmѿŻ‫ږ‬ќԏ‫ ږن‬Р֋ƒ‫ ږ‬ʢŉ*ģ‫ږ‬Z‫ ه ږ‬#!ϟ‫ږ‬ė +‫ږ͘ ږ‬Jпť7ɘ‫׳‬ɾIə‫ ږ‬Z‫͙ ږ‬DĠ‫ږ‬x‫ږ‬ӥ‫!ږ‬D‫&¦ږ‬Ф‫ږ‬/Z‫ږ‬äxƷ‫!ږ¯ږ‬ą‫ږ‬f% ,‫ ږ‬+‫ږ‬íE R‫ږ‬
   Mŭ5#Ԑ؋ȧҮ‫ږ‬Ն‫ږ‬žVb¦ ɿ‫ ږ‬O‫ږ‬Br*î‫ږ‬ƶ&!‫ږة‬Z ‫ ږ‬9# ø{Eֹ‫ ږ‬Ć‫ږ‬Ϡ Ċ‫ږ‬üՇ‫ؼږ‬LżǸ‫ږٽږ‬: 2‫ږ‬ŊŮ-7!ē‫ږ‬7͚Ҁр‫ ږ‬Ո‫ ږ‬ѝϡ‫ږ‬ReA"ԑ3‫ ږ‬Ɠ‫ =تږ‬Ϣ‫ږ‬yt‫ږ‬t'ֺ‫~ֻږ@ږ‬΍‫&ږ‬TkƇ‫ږ‬ƴų ‫ږ‬
   į֏ғ*‫ ږږ‬Ï‫ږ‬ϣ‫?و‬$^DÜ‫ږ‬RÜ‫_=ږ‬//  ‫ږ ثږ͛ږ‬Չ‫ږ‬ҙ‫_}ږ‬Ύ‫͜ږ‬сP‫פ‬+ ،‫ږּץ‬:.‫ږ‬ŐRũ‫ږ‬ÐŬ‫ ږ‬+‫ږ‬ʴƔ qØ‫"ږ‬Պ‫'ֽږ‬$‫ ږ‬Å=‫ږ‬Mā ‫ږ‬TŽw1i¦‫ږ‬4\‫ږ‬Ƨ_$‫ږ‬ƃ µ?Ĥ‫ږ‬rrìջ‫ږ‬
   Ջ‫ ږ‬թžՌ©Ϥ‫ږ‬Åŋ‫ږ‬ϥ?‫ږ‬4/¤G՞ժa ‫ږ‬9‫ ږ‬¢‫ږ‬²/Fv6‫ږ‬ʅɝ‫ږ‬ûghS -ǹ‫֌ ږ‬Ć ‫ ږ‬ţ‫ږ‬Ս‫ ږ‬+Ù‫؍ږ‬#‫ږ‬ի 1E‫ٹ‬ÕĞ‫ ؽږ‬Y‫< ږ‬ƻ‫ ږ‬uŦ‫ږ‬ŌƬÑ28‫ٵ‬7‫ ږږ‬.V‫ږ‬EA‫"\ږ‬e‫ږ‬тP‫ڍ‬Ώ¹ƌ ‫ږ‬ÿU‫ږ‬9*D‫ږ‬Sƹ‫ږ‬
   Վ!ϦP‫͝ږ‬ΐŹҁՏi‫' ږ־‬G"r‫ږ‬Α‫ږ‬Õn‫¯ږ‬WƞV ?m‫ږ ږ‬Y6iϧΒ ҂Ր ‫ږ‬w‫ږ‬Lßû‫&ږ‬řeՑ_ÉB‫ږ ږ ͞ږڎ‬µռǺ‫ږ‬ĀȞ΢у+‫ ږ֍ږ‬£Ì¨À‫ږ‬ϨӦĔ‫ږ‬6#V\\ōċ٦ʌ‫ ؎ږ‬Ρ‫!ږ‬Ւ‫ؾږ‬Ŏ‫ج‬7‫ږ‬/ïĒï,‫צ‬Ý‫ږ‬
   α-ӧ‫˜ؙ؏ק‬Ȗ‫ږ‬/Î]-ē‫ږר‬Riβ‫ږ‬F %$ ‫ږ‬ՓВ‫ږ‬Ì‫ڏש‬ĕ‫ږ‬үǩ‫ ږ‬śֿF.Z‫ږ‬1t‫ږ‬ŏ.×‫ږ‬æ V$*`‫ږ‬ą,`‫ͱږ‬%Ӈӈȗ‫͟ږ‬ЪÝ‫ږ‬k‫ږ‬Ï ‫҃ږ‬ƨ"ӓ‫ږ‬ƄԒ Ș‫ږ‬cƵ‫ږ‬Îս‫ږ‬-.ؐվ‫׀‬Ȩĭ‫!ږ‬ўׁ‫ږ‬ʵՔ ͠ԓ٧ʀ‫ͭږ‬Ԣº‫ږ‬

       Ė֊ԣ!‫ږ‬Ұ ȇ ķMҚ‫´ږ‬7‫ږ<ږ‬Ö‫ ږ‬ϩ+µ©‫ږ‬C"ÄԔұ‫ٶ‬5‫!ږ‬1‫ږ‬AƓ«‫ ږ‬e‫ح‬Ģ‫¸ږ‬Ę̗‫ٲ‬Û‫ږ‬9٨‫ږ‬Y[‫ږ‬íƷџ͡hè‫ږ‬Шտ‫ږ‬¢g٩‫ږ‬՟ ċÖ‫ږ‬ƒր‫ږ‬ԕ‫ ת‬-Ċ‫ږ‬ŲԖׂ IIɚɛÀXĎ‫@ږ͢ږ‬É‫׃‬ċƲ Éׄ‫ږ‬
   Ďф+‫ږ‬ԗ‫ږ‬#ŒǜɉΟMΓ ‫ږ‬ƶҲ‫ږ‬ź҄‫ږ‬ГՕ+ąvх‫ږ‬2Ϫ']‫ږ‬ϫ̟Ǐ‫׿‬Ӊӊ‫ږ‬O'õ‫"ږ‬T‫ږ‬q Ϭԥ ‫ ږ‬4H‫ږͣږ&¶ږ‬A‫ خ‬ÔâЫ‫ږ‬¢‫ ږدږ‬Ć_ц ‫"ׅږ‬ΔN‫ږ‬Eƨ Ө  Ȭ‫ ږ‬ã٪‫ږ‬äŜ‫ږ‬γƟsǻˍɊ‫ږ‬ƕ‫ڐږ‬Xө‫׆‬Vʎ‫ ږ‬O‫¿ ږ‬
   ¢Ċl‫ږ‬Ԙ‫ͤږپ׫‬.H‫ ږ‬Æ>ϭ`‫ږ‬ӪӫŮ‫ڑ‬Ơ‫ږ‬Ð[‫ږ‬7 |Ò7‫ׇږ‬wW‫ ږ‬ǀ‫ږ‬Ʃa ‫ږ‬A‫!ږ‬ϮD?¼‫>ږ‬H‫´ږ ¸"׈ږ‬êǼ‫&ږ‬bh¿‫ږ‬Òƞ‫ږ‬/{٫ê‫ږ‬1[‫ږ‬J‫ ږ‬%2¼‫֖|ږ‬٬‫ږ‬Дƍ‫ږ‬+‫ ·ى‬Lh‫ږ‬ƍ‫ږ‬ɜ‫ږ‬ǽ‫҅׉‬XчǾ‫ږږ‬8ɋɌ‫ږ‬Ĉņ‫ ٭‬X‫ږ‬
   ñ ̕ɍ-‫҆ږ‬ӯѤĜ҇ʐùRҳ‫ږ‬ȸő‫״‬vc Iȼi‫ږ‬1Е‫ږ‬Ʃ"# ‫ ږ‬ϯ´7GÝ‫ږ‬Ӭ²W‫ږږ‬1ƼşÜ‫ ږږ‬Щ‫| ¼ږ‬Ð% ‫ږ ږ‬3'N‫ږ‬+ d,ĝÚ‫½&&ږ‬ǉ‫ږ‬j‫ ؀ږ‬Ֆ‫ٮ‬ϵ϶‫¬ٿ‬ǒ‫ږ‬+ց‫׊‬ji±‫ږ‬#eƐƲ ‫ږ‬ƅ҈‫ږ‬ʣ­Xқ‫׋ږ‬N‫ږ‬ƕ ‫ږ‬d‫ږ؁‬
   ơհؑŶ‫ږ‬1‫~ږ>ږ‬-‫ږ‬aÿ‫ږٯ‬ÌͲ҉Wͥ‫׬‬wz‫ږ‬՗‫ږ‬ŴԙÓIĨ8ւ ‫ږ‬LĔ‫ ږ‬j‫ږ‬B -‫ږ‬##ؒ‫׌‬ҴMƆʁϷ‫ږ׍‬xñ‫ږږ‬ŵ;"¸ ‫ږ‬1‫ؓږ‬ϰ‫ږ‬:Ж‫ږ‬ŅH‫ږ‬3o ‫ͦږږ¡ږ‬ΕΖ4Ηé‫ږ ږ ̖̜ږ‬Ƙ,ů՘%‫׭';ږ‬ՙ6‫ږ׎‬ҵǪ2‫ ږ‬ǁ‫ږ‬
   Q¤ΘŇ‫׮‬øƔ6‫ږ‬փ‫ږ‬ΠûĒ{;ŶF‫ږ‬ĄЗ‫ږ‬ĕ'$ö‫ږ‬%Ā‫ׯ׏‬ԚؔΙԛ‫ږ‬Íք‫ږ ږ‬Ĉ#g½δ‫װ §ږא‬fÑʶʍ‫ږ‬²Ú‫ږ‬ęӑ÷ČB ‫ږڒ‬εӭ ‫ږ‬ɎΚ‫ږ‬ʤa*‫ږ¦ږ‬KoË‫ږ ٷ‬Y‫ږ‬ËA‫ږ©¯ږ‬ҊԜ\ĘؕΛÂ ‫¾ږ‬шSƛ@ů‫̞̝ږ‬ҋ‫׵‬ѣ2S‫ؿ‬Ҷ‫ב‬ª‫ږ‬՚ČU,Pď‫ږ‬óƙ‫ږ‬
   ͧƾ2ƆʂӋӌӍ‫ږ‬՛P‫ږ‬³Ԥ\‫ږ׸‬yŪ‫ږ‬Ьƌ‫ږג‬ƳѠ ‫ږ‬ĄP<ȝ‫  ږ‬-| 16‫ږ‬1l‫ږ‬ϱ#PÍ‫ږ‬ȩ֘ɏƧ‫ږ‬ҌИ‫ږ‬ƪ"Ŕ‫ ږ‬ҍſ‫ؖ‬Ĺ֔‫˛ـ‬ª‫ږ‬zî=‫ږ‬1‫ږ‬ĚQā‫ד‬óŧ‫ږ‬r ‫ږ‬ҎøĚ‫ږ‬uٰ‫ږ‬Qƈ‫ږ‬ŊͳOĜȣ‫ږړ‬S~‫ٸ‬ϲ‫ ږ‬ȪѡŚƟȡ‫ ® ږ‬Qщ+‫ږ‬
   ՜‫ږ‬Ӯլҷԝ‫ٱ‬æʃ‫ږ&ږ‬




   ˵ʷʜ‫ږ‬
   ȹȺȄɐ‫ڔ‬ȅīʆɫɰˬ‫ ږ‬ɑ Þ Ȇ‫ڕ‬ȻҸɤ                                                                                                                                           ˹ȮõΜ‫ ږ˗ ږ‬YЙ ɠ‫ږ‬




                                                                                                                      

   F01-AW-000005                                                                                                                                                            EX 17
                                                                                                                                                                               605
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                              "2%4   4'*&4           4   44 !4 &,30")4 (*%4 #"-.&$4 1/+4      4


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   F01-AW-000005                                                                                                                                                     EX 17
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   F01-AW-0000059                                                                         EX 17
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Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 6 of 31 Page ID #:752




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   F01-AW-0000059                                                                        EX 17
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Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 7 of 31 Page ID #:753




                            Exhibit 18
Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 8 of 31 Page ID #:754




   F01-AW-0008239                                                        EX 18
                                                                           610
Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 9 of 31 Page ID #:755
                           Domain Information for Shopper ID 30543538


Shopper ID:                        30543538
Domain Name:                       ASPIR.INFO
Registrar:                         Wild West Domains, LLC
Status:                            Active
Name Servers:
Auto Renew:
Renew Period:




Registrant Contact                                               Technical Contact
Name:              Alan Moore                                    Name:             Alan Moore
Company:                                                         Company:
Email:             alantoday@gmail.com                           Email:            alantoday@gmail.com
Address 1:                                                       Address 1:
Address 2:                                                       Address 2:
City:              Cambridge                                     City:             Cambridge
State/Province:    Massachusetts                                 State/Province:   Massachusetts
Postal Code:                                                     Postal Code:
Country:           United States                                 Country:          United States
Phone:                                                           Phone:
Fax:                                                             Fax:
Modify Time:       3/13/2016 6:18:45 PM                          Modify Time:      3/13/2016 6:18:45 PM



Administrative Contact                                           Billing Contact
Name:              Alan Moore                                    Name:             Alan Moore
Company:                                                         Company:
Email:             alantoday@gmail.com                           Email:            alantoday@gmail.com
Address 1:                                                       Address 1:
Address 2:                                                       Address 2:
City:              Cambridge                                     City:             Cambridge
State/Province:    Massachusetts                                 State/Province:   Massachusetts
Postal Code:                                                     Postal Code:
Country:           United States                                 Country:          United States
Phone:                                                           Phone:
Fax:                                                             Fax:
Modify Time:       3/13/2016 6:18:45 PM                          Modify Time:      3/13/2016 6:18:45 PM




              F01-AW-0008397                                DBP 000171                                    EX 18
                                                                                                            611
   Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 10 of 31 Page ID
                   Domain Information #:756
                                      for Shopper ID 30543538


Shopper ID:                        30543538
Domain Name:                       ASPIR.ME
Registrar:                         Wild West Domains, LLC
Status:                            Active
Name Servers:
Auto Renew:
Renew Period:




Registrant Contact                                               Technical Contact
Name:              Alan Moore                                    Name:             Alan Moore
Company:                                                         Company:
Email:             alantoday@gmail.com                           Email:            alantoday@gmail.com
Address 1:                                                       Address 1:
Address 2:                                                       Address 2:
City:              Campbell                                      City:             Campbell
State/Province:    Australian Capital Territory                  State/Province:   Australian Capital Territory
Postal Code:                                                     Postal Code:
Country:           Australia                                     Country:          Australia
Phone:                                                           Phone:
Fax:                                                             Fax:
Modify Time:       3/13/2016 9:18:38 PM                          Modify Time:      3/13/2016 9:18:38 PM



Administrative Contact                                           Billing Contact
Name:              Alan Moore                                    Name:             Alan Moore
Company:                                                         Company:
Email:             alantoday@gmail.com                           Email:            alantoday@gmail.com
Address 1:                                                       Address 1:
Address 2:                                                       Address 2:
City:              Campbell                                      City:             Campbell
State/Province:    Australian Capital Territory                  State/Province:   Australian Capital Territory
Postal Code:                                                     Postal Code:
Country:           Australia                                     Country:          Australia
Phone:                                                           Phone:
Fax:                                                             Fax:
Modify Time:       3/13/2016 9:18:38 PM                          Modify Time:      3/13/2016 9:18:38 PM




              F01-AW-0008397                                DBP 000172                                            EX 18
                                                                                                                    612
   Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 11 of 31 Page ID
                   Domain Information #:757
                                      for Shopper ID 30543538


Shopper ID:                        30543538
Domain Name:                       ASPIRETODAY.ME
Registrar:                         Wild West Domains, LLC
Status:                            Active
Name Servers:
Auto Renew:
Renew Period:




Registrant Contact                                               Technical Contact
Name:              Alan Moore                                    Name:             Alan Moore
Company:                                                         Company:
Email:             alantoday@gmail.com                           Email:            alantoday@gmail.com
Address 1:                                                       Address 1:
Address 2:                                                       Address 2:
City:              Campbell                                      City:             Campbell
State/Province:    Australian Capital Territory                  State/Province:   Australian Capital Territory
Postal Code:                                                     Postal Code:
Country:           Australia                                     Country:          Australia
Phone:                                                           Phone:
Fax:                                                             Fax:
Modify Time:       3/3/2017 9:12:49 AM                           Modify Time:      3/3/2017 9:12:49 AM



Administrative Contact                                           Billing Contact
Name:              Alan Moore                                    Name:             Alan Moore
Company:                                                         Company:
Email:             alantoday@gmail.com                           Email:            alantoday@gmail.com
Address 1:                                                       Address 1:
Address 2:                                                       Address 2:
City:              Campbell                                      City:             Campbell
State/Province:    Australian Capital Territory                  State/Province:   Australian Capital Territory
Postal Code:                                                     Postal Code:
Country:           Australia                                     Country:          Australia
Phone:                                                           Phone:
Fax:                                                             Fax:
Modify Time:       3/3/2017 9:12:49 AM                           Modify Time:      3/3/2017 9:12:49 AM




              F01-AW-0008397                                DBP 000173                                            EX 18
                                                                                                                    613
   Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 12 of 31 Page ID
                   Domain Information #:758
                                      for Shopper ID 30543538


Shopper ID:                        30543538
Domain Name:                       CLIMBINGSTEPS.COM
Registrar:                         Wild West Domains, LLC
Status:                            Active
Name Servers:
Auto Renew:
Renew Period:




Registrant Contact                                               Technical Contact
Name:              Alan Moore                                    Name:             Alan Moore
Company:                                                         Company:
Email:             alantoday@gmail.com                           Email:            alantoday@gmail.com
Address 1:                                                       Address 1:
Address 2:                                                       Address 2:
City:              Campbell                                      City:             Campbell
State/Province:    Massachusetts                                 State/Province:   Massachusetts
Postal Code:                                                     Postal Code:
Country:           United States                                 Country:          United States
Phone:                                                           Phone:
Fax:                                                             Fax:
Modify Time:       1/17/2017 1:54:21 PM                          Modify Time:      1/17/2017 1:54:21 PM



Administrative Contact                                           Billing Contact
Name:              Alan Moore                                    Name:             Alan Moore
Company:                                                         Company:
Email:             alantoday@gmail.com                           Email:            alantoday@gmail.com
Address 1:                                                       Address 1:
Address 2:                                                       Address 2:
City:              Campbell                                      City:             Campbell
State/Province:    Massachusetts                                 State/Province:   Massachusetts
Postal Code:                                                     Postal Code:
Country:           United States                                 Country:          United States
Phone:                                                           Phone:
Fax:                                                             Fax:
Modify Time:       1/17/2017 1:54:21 PM                          Modify Time:      1/17/2017 1:54:21 PM




              F01-AW-0008397                                DBP 000174                                    EX 18
                                                                                                            614
   Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 13 of 31 Page ID
                   Domain Information #:759
                                      for Shopper ID 30543538


Shopper ID:                        30543538
Domain Name:                       TRAININGGRADES.COM
Registrar:                         Wild West Domains, LLC
Status:                            Active
Name Servers:
Auto Renew:
Renew Period:




Registrant Contact                                               Technical Contact
Name:              Alan Moore                                    Name:             Alan Moore
Company:                                                         Company:
Email:             alantoday@gmail.com                           Email:            alantoday@gmail.com
Address 1:                                                       Address 1:
Address 2:                                                       Address 2:
City:              Campbell                                      City:             Campbell
State/Province:    Massachusetts                                 State/Province:   Massachusetts
Postal Code:                                                     Postal Code:
Country:           United States                                 Country:          United States
Phone:                                                           Phone:
Fax:                                                             Fax:
Modify Time:       1/17/2017 1:54:22 PM                          Modify Time:      1/17/2017 1:54:22 PM



Administrative Contact                                           Billing Contact
Name:              Alan Moore                                    Name:             Alan Moore
Company:                                                         Company:
Email:             alantoday@gmail.com                           Email:            alantoday@gmail.com
Address 1:                                                       Address 1:
Address 2:                                                       Address 2:
City:              Campbell                                      City:             Campbell
State/Province:    Massachusetts                                 State/Province:   Massachusetts
Postal Code:                                                     Postal Code:
Country:           United States                                 Country:          United States
Phone:                                                           Phone:
Fax:                                                             Fax:
Modify Time:       1/17/2017 1:54:22 PM                          Modify Time:      1/17/2017 1:54:22 PM




              F01-AW-0008397                                DBP 000178                                    EX 18
                                                                                                            615
Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 14 of 31 Page ID
                                  #:760




                         Exhibit 19
Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 15 of 31 Page ID
                                  #:761




                                                                              September 7, 2017
    To:                                                                 - Private and Confidential -
    Federal Trade Commission
    Attn: Carol Jones / Laura Basford
    600 Pennsylvania Avenue NW, Mailstop CC-8528 Washington. DC 20580
    lbasford@ftc.gov

    Dear,

                                    RE: Civil Investigative Demand
                                              File no: 9923259

    Pursuant to Civil Investigative Demand provided to Wix.com (The “Subpoena”), we conducted a
    diligent search for information responsive to your requests regarding the following data subjects:

        1. traininggrades.com
        2. climbingsteps.com
        3. digitalaltitude.co
        4. Digital Altitude, LLC (                 )
        5. Digital Altitude Limited
        6. Soar lnternational LLC
        7. Aspire LLC
        8. Aspire Systems
        9. Aspire Systems LLC
        10. Aspire Processing LLC                    )
        11. RISE Systems & Enterprise (                  )
        12. Thennography for Life. LLC d/b/a/ Living Exceptionally, Inc        )
        13. The Upside LLC
        14. Disc Enterprises, fnc. (              )
        15. Martin Merriment Companies. Inc. (                   )
        16. Relativity Marketing LLC
        17. Aspire Systems & Enterprise LLC
        18. Aspire Systems & Events LLC
        19. The Entrepreneur' s Agency LLC
        20. Aspire Processjng Limited
        21. Aspire Ventures Limited
        22. Aspire Design Studios LLC
        23. Aspire Mobile Solutions
        24. Michael Force (SSN:                )
        25. Mary Dee a/k/a Mary Prichard a/k/a Mary McCowan a/k/a Mary McGowan (SSN:
                            )
        26. Morgan Johnson (SSN:                  )
        27. Dalila Force a/k/a Dalila Fazai a/k/a Dalila fazia (SSN:       or
                  )
        28. Rashard Washingtor1 (SSN:                  )
        29. Jash in Howell (SSN:                )


                                                                                                  EX 19
                                                                                                    616
Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 16 of 31 Page ID
                                  #:762




       30. Ryan Jaten (SSN:               )
       31. Jeremy Miner (SSN:                 )
       32. Alan Moore (SSN:                )
       33. Sean Brown (SSN:                 )
       34. Gerard Joseph (SSN:                 )
       35. Ria Joseph a/k/aRia Roebuck (SSN:            )
       36. Chantra Stewart (SSN: X               )
       37. Robert Bell (SSN:              )
       38. Maureen Prichard (SSN:                   )
        Alyssa Wilkerson (SSN:                  )
       Mike Budny (SSN: X                )
       Dion Mcintosh (SSN:                  )
       Mohammed Abdul Alim
       43. alantoday@gmail.com
       44. support@traininggrades.com
       45. michaelforce@me.com
       46. support@empowernetwork.com
       47.
        
       49. mary@livingexceptionally.com
       50. mary@tedmcgrathbrands.com
       info@tedmcgrathbrands.com
       52. mdee@digitalaltitude.com
       53.


       56. thermoforlife@gmrul.com
       57.
       58. aspireprocessingllc@gmail.com
       59. jashin.howell@acornworldwide.com
       60.
       61.

       63. risesystemsent@gmail.com
       64.
       65.


    PLEASE NOTE THAT THIS LETTER CONTAINS PERSONAL INFORMATION, AND
    YOU ARE THEREFORE REQUESTED TO MAINTAIN IT IN CONFIDENCE AND TO
    USE AND DISCLOSE IT SOLELY FOR THE LAWFUL PURPOSES OF THE SUPOENA
    AND AS INSTRUCTED BY THE COURT.




                                                                      EX 19
                                                                        617
Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 17 of 31 Page ID
                                  #:763




    We hereby approve and warrant that the information provided by us is the accurate info we are
    holding regarding the above-listed website, and respond in accordance with state and federal law,
    including the Electronic Communications Privacy Act, 18 U.S.C. § 2701 et seq.

                                   INFORMATION REQUESTED

    1 – Domain Name: traininggrades.com
        Domain Name: climbingsteps.com

    User Information:
    User Name: exxcell
    Email: amoore@digitalaltitude.co

    List and Length of Wix Services:
    Cancelled Premium Services:
     Wix Stores Premium Plan (Basic Store): January 19, 2017 - Cancelled
     Wix Stores Premium Plan (Basic Store): January 19, 2017 – Cancelled
     Wix Stores Premium Plan (Basic Store): January 19, 2017 - Cancelled


    Billing and Payment Information:
    First Name: Alan
    Last Name: Moore
    Email: amoore@digitalaltitude.co
    Company Name: Digital Altitude LLC
    Phone: +17202919897
    Address: 16192 Coastal Hwy
    City: Lewes
    Zip: 19958
    Country: United States
    State: Delaware
    Credit Card: MasterCard
    Expiration Date:

    IP Logs:
    See Exhibit A (IP logs were generated in UTC time).


    2 – Email Address: alantoday@gmail.com

    User Information:
    User Name: alantoday
    Email: alantoday@gmail.com

    List and Length of Wix Services:


                                                                                                 EX 19
                                                                                                   618
Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 18 of 31 Page ID
                                  #:764




    Free Wix Account - No services were purchased, therefore Wix does not hold billing and payment
    information with respect with this account.

    IP Logs:
    See Exhibit B (IP logs were generated in UTC time).

    3 – Email Address:

    User Information:
    User Name:
    Email:

    List and Length of Wix Services:
    Free Wix Account - No services were purchased, therefore Wix does not hold billing and payment
    information with respect with this account.

    IP Logs:
    See Exhibit C (IP logs were generated in UTC time).

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   WUXHDQGFRUUHFW([HFXWHGRQ6HSWHPEHU

   Please do not hesitate to contact us should you have any questions.




                                                                                                   EX 19
                                                                                                     619
Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 19 of 31 Page ID
                                  #:765




                         Exhibit 20
Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 20 of 31 Page ID
                                  #:766




 F01-AW-0008374                                                       EX 20
                                                                        620
Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 21 of 31 Page ID
                                  #:767




 F01-AW-0008371                                                       EX 20
                                                                        621
Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 22 of 31 Page ID
                                  #:768




 F01-AW-0008371                                                       EX 20
                                                                        622
   Case 2:18-cv-00729-JAK-MRW Document 17-8 Filed 01/29/18 Page 23 of 31 Page ID
                                     #:769


                                                 STATE OF NEVADA
     BARBARA K. CEGAVSKE
              Secretary of State                                                 Commercial Recordings Division
                                                                                         202 N. Carson Street
                                                                                      Carson City, NV 89701-4201
     JEFFERY LANDERFELT                                                                Telephone (775) 684-5708
               Deputy Secretary                                                           Fax (775) 684-7138
          for Commercial Recordings

                                                       OFFICE OF THE
                                              SECRETARY OF STATE

        Sean Brown                                                               Job:C20160802-0884
        Time. Talents. Possessions. LLC                                          August 2, 2016
        9980 South 300 West
        Sandy, UT 84070

Special Handling Instructions:


Charges
 Description                          Document Number      Filing Date/Time        Qty      Price            Amount
 Articles of Organization             20160343660-91       8/2/2016 9:28:46 AM       1              $75.00       $75.00
 Total                                                                                                           $75.00

Payments
 Type                                    Description                                                     Amount
 Credit                                                                                                            $75.00
 Total                                                                                                             $75.00
                                                                                               Credit Balance: $0.00



                                                                                 Job Contents:
                                                                                 File Stamped Copy(s):                 1
                                                                                 LLC Charter(s):                       1
                                                                                 ILMM-ALMM(s):                         1




 Sean Brown
 Time. Talents. Possessions. LLC
 9980 South 300 West
 Sandy, UT 84070


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             LIMITED LIABILITY COMPANY CHARTER
  I, BARBARA K. CEGAVSKE, the Nevada Secretary of State, do hereby certify that RISE
  SYSTEMS & ENTERPRISE LLC did on August 2, 2016, file in this office the Articles of
  Organization for a Limited Liability Company, that said Articles of Organization are now on file
  and of record in the office of the Nevada Secretary of State, and further, that said Articles contain
  all the provisions required by the laws governing Limited Liability Companies in the State of
  Nevada.


                                                IN WITNESS WHEREOF, I have hereunto set my
                                                hand and affixed the Great Seal of State, at my
                                                office on August 2, 2016.



                                                    BARBARA K. CEGAVSKE
                                                        Secretary of State
   Certified By: Electronic Filing
   Certificate Number: C20160802-0884
   You may verify this certificate
   online at http://www.nvsos.gov/




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                         Exhibit 21
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                                        Address 1




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